Case 07-10416-BLS Doc 464-2 Filed 04/30/07 Page1of13

September 24, 200
Date. .

» ‘152 BEECH ST

1. BORROWER’S PROMISE TOPAY - , , ce oe,
In return for a loan that I have. ed, I promise to pay U.S. $ : 18; 260, 00" (bis cunt wb calle
““principal’*),pins interest, to the order of the Lender. The Lender ig mo . oe :
‘NEW CENTURY MORTGAGE CORPO .
o _ I understand that the Lender may transfer this
Now. The Lender or anyone who takes i Note by Hansfes and who is entie to receive payments under his Not will be called
the ‘“Note Holder,”

2. INTEREST

I will pay interest at a yearly rate of 10. 2500 %.

Interest will be charged on unpaid i pl nl fl on of isp as en pid
3. PAYMENTS. . . .

I will pay principal and interest by taking payments each month of U.S. sh : ‘ev. a eee

T will make my payments on the Irst os day of each month beginning on ~ November 1 .

2004 - I will make these par San negate Bl allo the principe so nteest and anyother charge,
described below, that I may owe under thi Note. If, on October 1, 2034 -- . ,
I still owe amounts under this Note, I wi Pay all hose amount, in fall, on that date, ge. , wt

I will make my monthly payments 18400 VON KARMAN,+ SUITE. 1000 —

IRVINE, CA 92612
4. BORROWER’S FAILURE TO PA’

(A) Late Charge for Overdue Pa:
. If the Note Holder has not received
calendar days after the date it-is du

, 2.00 %-of my ov.
US. $ 13.49 I

(B) Notice from Note Holder |

If I do not pay the full amount of
that if T do not pay the overdue amount
which the notice is mailed to me or, if it i

(C) Default

If I do not pay the overdue amon ! by the date stated in the’ notice described in’ (B) above, wil be in detaul 16 Yam i
default, the Note Holder may require to pay immediately the full amount of principal which. has not been paid and all the
interest that I owe on that amount.

Byen if, at a time when J-am in ult, the Note Hole doesnot requ met pay mmetintin full as described above,
the Note Holder will still have the right y do so if T am in default ata later time,’ b .

(D) Payment of Note Holder’s Costs and Expenses ‘ : :

If the Note Holder has required me to pay immediately in full as described above, the Note Holder will have the right to be
paid back for all of its costs and expenses to the extent not Prohibited by. applicable law. Those expenses include, for ‘example
reasonable attorneys’ fees. Lo
5. THIS NOTE SECURED BY A MORTGAGE . :

: ‘hh addtion io” be proectona given io” the ‘Note Holi” nder “this Now, a Mortgage, dated

September 24, 2004 . » protects the Note Holder from ‘possible losses which, might result if I do not keep
the promises which I make in this Note. That Mortgage describes how and under what conditions I may be required to make
immediate payment in full of all amounts|that I owe under this Note. .

: Full amount of any of my. monthly payments by: the endof 15.

1 will pay a late charge to the Note Holder- The = amount of the charge will be
due payment, but not less than U.S.$.: 5.00 and not more than
pay this late charge only once on any ‘lave Payment. .

monthly payment on time, the Note Holder may ‘send. me a written notice telling me
y & certain TO aeyeatee a Cataol: That date must be a east 10 days aftr the date on
not mailed, 10 days after the date on which itis delivered tome...

|New YORK - SECOND MORTGAGE -} 1/80 - FNMA/FHLNC UNIFORM INSTRUMENT 1 Berm 3933

- oe : Pagetof2 — : . - :
GZ -75(NY) (0206) . VMP MORTGAGE FORMS - (800)621-729 “ eo Intttate: /

Barve’

orata different place I recived by the Note Holder. /

x

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# | . Les : a:

- a) 3. oe ge a
. A * . fy. 0001870365 -

6. BORROWER’S PAYMENTS BEFORE THEY ARE DUR . .

T have the right to make payments of principal at any time before they are due. A payment of principal only is known as a
‘“prepayment.”" When I make a prepaym| t, I. will tell the Note Holder in a letter that I am doing so, A prepayment of all of the _
unpaid principal is known as a’'‘full prepayment.’” A prepayment of only part of the unpaid principal is known as a ‘‘partial

"prepayment.”” 2 co , ee . oe
. I may make a full prepayment or a partial prepayment without paying any-penaity. The Noto Holder will use all of my on
» prepayments to reduce the amount of principal that I owe under this Note. If I make a partial prepayment, there will be no delays in |
the due dates or changes in the amounts pf my monthly payments unless the Note Holder agrees in writing to those delays or = =i
changes. I may make a full prepayment atlany;time. If I choose to make a partial prepayment, the Note Holder may require meto
make the prepayment on the same day one of my monthly payments is due. The Note Holder. may also require that the amount
of my partial prepayment be equal to the amount of principal that would have been part of my next one or more monthly payments. _

7.BORROWER’S WAIVERS |” .
I waive my rights to require the Note Holder to do certain things. Those things:are: (A) to demand payment of amounts due « -

‘(known as “‘presentment’’); (B) to give notice that amounts due have not been paid (known as “‘notice of dishonor’’); (C) to

~- Obtain an official certification of nonpayment (known as a ‘‘protest’’), Anyone else who agrees to keep the promises made in this
Note, or who agrees to make payments to the Note Holder if I fail to keep my promises under this Note, ox who signs this Note to
transfer it to someone elss also waives thest rights. These persons are known as ‘guarantors, sureties and endorsers.” : .
8. GIVING OF NOTICES. vo . we . :
Any notice that must be given to me under this Note will be given by delivering it or by mailing it by. certified mail addressed
to me at the Property Address above, A notice will be delivered or mailed to me ata different address if I give the Note Holder a
notice of my different address. : c, : Bo oa Cot
Any notice that must be given to th Note Holder under this Note will be given by mailing it by certified mail to the Note .

Holder at the address stated in S 3 above. ‘A notice will-be mailed to the Note Holder at a different address if I am given a
notice of that different address, Lee, oe SO we,
9, RESPONSIBILITY OF PERSONS ER THIS NOTE :

If more than one person signs this Ni te, each of us is fully and personally obligated to pay the full amount owed and to keep
all of the promises made in this Note, guarantor, surety, or endorser of thisjNote (as described in Section 7 above) is also
obligated to do these things. The Note Ho! may enforce its rights under this Note against each of us individually or against all of
us together. This means that any one of vs may. be required to pay all of the amounts owed under this Note. Any person who takes °
over my rights or obligations under this Note will have all of my rights and must keep all of my promises made in this Note. Any
person who takes over the rights or obligations of a guarantor, surety, or endorser of this Note (as described in Section 7 above) is
also obligated to keep all of the promises made in this Note. , . oe oe te .

"Default in the payment of this loan agreement may result in the loss of the property securing the loan. Under federal law,

you may have the right to cancel this agreement. If you have this right, the creditor is required to provide you with a
‘separate written notice specifying the cirpumstances and times under which you can exercise this right. .

/ co a oo . ,
Anis orinit Gea oe (Sea),

- LOURDES MINIER ‘Borrower co +. --Borrower:-
-Borower tit. . oF -Borrower
(Seal) _ _. _ (Seat, -
-Borrower : 4 Tt -Borrower :
Gea) - fo __ (Seal)
- eBorrower , dh. . ” ~Barrower-
[Sign Original Only} —
ZD,-75(NY) oz) po page aate. ce es Form 3933:

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WORDS USED OFTEN IN THIS DO

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‘ NEW CENTURY MORTGAGE CORP

"ie

18400 VON KARNAN, SUITE
IRVINE, CA 92812 :

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RATION
00.

[ MORTGAGE |

TUMENT *

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«wl cae the "Monge? a

(A) "Martgage.” 7s ocumenn whi ae Septenber 24, 2006:
(B) "Borrower."
LOURDES MINIER
whose address is 152 BEECH STREET © , YONKERS, NEW YORK 107601 |
will sometimes be called the “B wes” and sometimes simply 1”
(C) “Lender.”
NEW CENTURY: MORTGAGE co PORATION
will be called the “Lender.” Len is a corporation or association which was formed and which exis unr te lav of
CALIFORNIA oo Tenders address is
18400 VON KARMAN,: SUITE f 1000.
IRVINE, CA 92812 .. pf . oo / .
(D) "Note.” The junior lien note signed by Borrower and dated September 24, 2004 : , and extensions:

-and renewals 'of that note, will be
plus interest, which I have promi:

(B) "Property.” me pores oa’

" “Property.”

BORROWER’S TRANSFER TO
I mortgage, grant and convey the
Mortgage, I am giving Lender tho:

(A) Pay all the amounts that I ow
(B) - Pay, with interest, any “am
. Lender’s rights in the Pro
(C) . Keep all of my promises and
With respect to the amounts that
known as the "homestead exempti

2B

‘the "Note." The Note shows that I owe Lender U.S. s 75,260.00
to pay in fullby Octohar 1, 2034 .

described below in the section titled "Description of the Property” will be called the

ER OF RIGHTS IN THE PROPERTY

to Lender subject to the terms of this Mortgage. This means that, by signing this
rights that are stated in this Mortgage and also those rights that the law gives to lenders
a am giving. Lender these rights to protect Lender from Possible losses that might result:

ndex as stated in the Note;

at Kr pds er is Morag pe eve of i Pope and

and

ents under this Mortgage.

we, under the Note and under this Mortgage, Is waive the benefit of the right which is
." A homestead exemption is a property owner’s right to keep a portion of his property

(usually up to a certain dollar amo t) free from the claims of creditors. My waiver of this right. means that the Lender may
exercise all of its rights under this v ort age as if I were not entitled, under law, to the benefits of a homestead exemption.
DESCRIPTION OF THE PROPER’ ty
_ Lgive Lender rights in the following|Property:

(A) The property which is located|dt 152 BEECH STREET . [Street],
YONKERS [City], NEW YORK {Stato], 10701 [Zip Code},
This Property isin WESTCHESTER County in the State of New York. Ithasthe
following legal description: : : a :

SEE LEGAL DESCRIPTION ATTACHED HERETO AND MADE A PART HEREOF.

THIS DEED OF TRUST IS § COND AND SUBORDINATE TO AN EXISTING FIRST TRUST DEED LOAN
NOW OF RECORD.
(B) All buildings, structures and
section; 5:
(C) All rights in other Property I have as owner of the property described in paragraph (a) of this section. These rights
are known as “easements, rights and appurtenances attached to the property”;

ther improvements that are located on the property described is in paragraph (A) of this

(@) All rents or royalties from the |property described in paragraph (A) of this section; and
(B) AM of the property des Preah ()dogh (of assent Tange nh ues al ih
described in paragraphs (B) :

igh (D) of this section that I acquire in the future.
. 0001870365 -

nue: 5h

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_., Page tote
. MP Mortgage Solutions (800)621-7261

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ny

A

It may be that Ido not own the Propecty but am tenant under ease, Ta that 4

_ Mortgage are. Tights i in my tenancy.

BORROWER'S RIGHT TO MORTGAGE. THE PROPERTY AND BORROWER’S OBLIGATION TO DEFEND

OWNERSHIP OF THE PROPERTY
T promise that; (A) T lawfully own t
and (C) there are no outstanding.

1.

OTHER PAYMENT OBLIGATIONS |

‘Twill promptly pay to Lender when

2. AGREEMENTS ABOUT MON

2 Property: (B) I have the right to mortgag

defend my ownership of the Property ag
2. UNIFORM PROMISES

ue principal and interest under the Note and

Y PAYMENTS FOR TAXES AND INS

» the rights I am’ giving to Lender by this

grant and convey the Property to Lender,

charges as stated in the Note.
CE

(A) Borrower’s Obligation to Mak: Monthly Payments to Lender for Taxes d Insurance

I will pay to Lender all amounts ni

Property and mortgage insurance (ifjany). I will pay those amounts to Lendez (i)
not have to do so or (ii) unless the law requires otherwise, Also, 1 will not haye

already making monthly payments

to pay for taxes, assessments, ground|rents (if any), and hazard insurance on the

the holder of any superior mortgage or

Lendez tells me, in writing, that I do

institution. I will make those pa: ts on the same day that my monthly payments of Principal and interest are due under the

Note.

The amount of each of my paymentsjunder this Paragraph 2 will be the sum of the! following:
() One-twelfth of the estimated! yearly taxes, assessments (including condominium and. planned unit development

assessments, if any) and groun! rents (if any) on the Property which un the law may be superior o tis Mortgage:

pins |

(ii) One-twelfth of the estimated yearly premium for hazard insurance covering: e Property; plus

ii) One-twelfth of the estimated ve

ny premium for mortgage insurance (if any)

Lender will determine from time to 4 time my estimated yearly taxes, assessments, ground rents and insurance premiums based.
upon existing assessments and bills, and reasonable estimates. of future assessments and bills. (Taxes, assessments, Bound

rents and insurance premiums will be

The amounts that I pay to Lender fd

called ° taxes and.insurance, ”)

taxes and insurance under this Paragraph

will be called the "Punds.” The Punds are

additional protection for Lender in case I do not fulfill my obligations under the Note and under this Mortgage,

(B) Lender’s Obligations Concerning Borrower's Monthly Payments for Taxes and Insurance

. Lender will keep the Funds in a savings or banking institution the deposits or

a Federal-or state agency. Af-Len

deduction,

_ Me for these services if Lender pays!

Tsign this Mortgage, that Lender

me interest on the Funds and if the law

pay interest on the Funds; or r G) the law x

diints of which are insured or guaranteed by -
is.such an institution then Lender may hold the Punds. Except as described in this
_ Paragraph .2, Lender will use’ the Funds:to pay taxes and insurance, Lender i

accounting of the Funds. That accounting toust show all additions to and deducti

give to me, without charge, an annual
3 from the Funds, and the reason for each

analyzing my payments of Funds, or for receiving, verifying and totalling assessments and bills. However, Lender may y ae

Lender to pay interest on the Funds,

pay to Lender any amount for which I am -
of trust, if it is a savings or banking -

If Lender's estimates are too high or if taxes and insurance rates go down, the amounts that I pay under this Paragraph 2 will:

be too large, If this happens at a time when I am keeping all of my promises and agreements made in this Mortgage, I will
have the zight to have the excess amount either. prompdly repaid to me as a direct refund or credited to my future monthly

: payments of Funds, There will be Jess amounts if, at any time, the sum of (a) the amount of Funds which Lender is holding

or keeping on deposit, plus (b) the amount of the monthly payments of Funds which I stilt must pay between that time and the
due dates of taxes and insurance, is greater than the amount necessary to pay the taxes and insurance when they are due.

If, when payments of taxes and insurance are due, Lender has not received enough Punds from me to make those payments, I
will pay to Lender whatever additional amount is necessary to pay the taxes and insurance in full. I must pay that additional
amount in one or more payments as Lender may Tequire.

Funds that are then being. held or kept on deposit by Lender. If, under P. h 20 below, either Lender acquires the

. Property,or the Property is sold, th
holding or has on deposit at that time/to reduce the amount that I owe to Lender untter the Note and under this Mortgage.

When I have paid all of the ao} due under the Note and under this “os Lender will promptly refund to me any

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immediately before the acquisition or sale, Lender will use any Funds which Lender is .

4 3.

' “choice untess the refusal is reago

__ _ . known aia "standard mortgage cle

", acceptable’ to Lender... Lender y
“mortgage or deed of trast. °

~ If Tabandon the Property, or if T¢
_ Offered to setile a claim for insura
- proceeds to repair or restore the

delivered. . .

_ BORROWER'S OBLIGATION [FO
_AND CONDOMINIUM AND PUD DOCUMENTS

Uf (A) I do-not keep my promi
: procéeding that may significant!

“ necessary to protect the value of th

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Al a

‘APPLICATION OF BORRO’ *§ PAYMENTS

Uniess the law requires otherwis der will apply each of my payments under the Note and under Paragraphs 1 and 2
above. in the following order and f the following purposes: , .

(A): First, to pay the amounts th: to Lender under Paragraph 2 above;

(B) Next, to pay interest then duejtnder the Note; and .

(C) Next, to pay principal then dug under the Note.

BORROWER'S OBLIGATION |TO: PAY PRIOR MORTGAGES, CHARGES AND ASSESSMENTS AND TO
SATISFY CLAIMS. AGAINST }HE:PROPERTY os

: 1 will keep all promises that I hav aid in any superior mortgage or deed of trust, including my promises to make payments
'.. when due, I will pay all taxes, sn ts, and any other charges and fines that may be imposed on the Property and that
~ May be superior to this Mortgago. will see that any claim, demand or charge that is made, against the Property because an

obligation has not been fulfilled wn as a “lien") is promptly paid or satisfied if the lien may be superior to this Mortgage. :
T will also make payments due uni my Jease if I am a tenant on the Property and I will pay ground rents (if any) due on the

‘BORROWER'S OBLIGATION O OBTAIN AND TO KEEP HAZARD INSURANCE ON THE PROPERTY a
__ U will obtain hazard insurance to cpver'all buildings, structures and other improvements that now are or in the future will be

located on the Property! ‘The i ce must cover loss or damage caused by fire, hazards normally covered by “extended

, _ coverage" hazard. insur policiyé, and other hazards for which Lender requires coverage. The insurance must be in the — ,
amounts and for the peziods of time required by Lender, : Se -.

'y, but my choice is subject to Lendex’s approval. Lender may not refuse to approve my
ble. All of the insurance policies and renewals of those policies must include what is
se" to protect Lender. The form of all policies and the form of all renewals must be
have the right to hold the policies and renewals, subject to the terms of sny superior

Lmay choose the insurance compa

If there is a loss or damage to the|} operty, I will promptly notify the insurance company and Lender. If I do not promptly
Prove to. the insurance company thaf the loss or damage occurred, then Lender may do so. ‘ :
not answer, within 30 days, a notice from Lender stating that the insurance company has
e benefits, then Lender has the authority to collect the proceeds, Lender may then-use the
foperty or to reduce the amount that I owe to Lender under the Note and under this

Mortgage. The 30-day period i begin on the date the notice is mailed, or if it is not mailed, on the date the notice is

FO. MAINTAIN THE PROPERTY AND TO FULFILL OBLIGATIONS IN LEASE .
I will keep the Property.in good repair, I will not destroy, damage or substantially change the Property, and I will not allow -
the Property. to deteriorate. If I dol hot own but am a tenant on the Propexty, I will fulfill my obligations under my leasé. IE
the Property is a anit in a condomini m0 or in a planned unit development, I will fulfill all of my obligations under the
declaration, . by-laws, regulations jand other documents that create or govern the condominium-or the planned unit
development. Re . . :

is

TION TO PROTECT THE PROPERTY

and agreements made.in this Mortgage, or (B) someone, including me, begins a legal
affect Lendex’s. rights in the Property (such as, for example, a legal proceeding in
ation, or to enforce laws or regulations), then Lender may. do and pay for whatever is
Property and Lender's rights in the Property. ‘Lendex’s actions under this Paragraph .7 -
may include, for example, appearing in court, paying reasonable attorneys’ fees, and entering on the Property to make repairs,
Lender must give me notice before lle nder may take any of these actions. So .

LENDER’S RIGHT TO TAKE 4

es}

bankrupicy, in probate; for cond

- I will pay to Lender any amounts| } ith interest, which Lender spends under this Paragraph 7. This Mortgage will protect

Lender. However, Lender and I ma

. Although Lender may take action

* Lender in case I do not keep this promise to pay those amounts with interest. : :

. I will pay those ‘amounts to Lendex jwhen Lender sends me a notice requesting that I do so. -I will also-pay interest on those

amounts at the same rate stated irl |the Note. Interest on each amount will begin on the date that the amount is spent by
agree in writing to terms of payment that are different from those in this paragraph.

wider this Paragraph 7, Lender does not have to do so.

LENDER'S RIGHT TO INSPECT THE PROPERTY :
Lender, and others authorized by Lender, may enter on and inspect the Property. They must do so in a reasonable manner
and at reasonable times; However before one of those inspections is made, Lender must give me notice stating.a reasonable.
purpose for the inspection. That puxpose must be related wo Lender's rights in the Propesty.

AGREEMENTS ABOUT COND: [ATION OF THE PROPERTY

‘A taking of property. by any. gov rental authority by eminent domain is known as "condemnation." I give to Lender my

right: (A) to proceeds of all awards| ar claims for damages xesulting from condemnation or other governmental taking of the

Property; and (B) to proceeds fro sale of the Property that is made to avoid condemnation. All of those proceeds will be

paid to. Lender, subject to the termsiof any superior mortgage or deed of trust. 9365
: 4 , . 000187

. Iota:

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10.

11.

CONTINUATION OF BORRO a Do
Lender may allow a person who tikes. over my rights and obligations to delay or to change the amount of the monthly
payments of principal and interest e under the Note or under this Mortgage. Even if Lender does this, however, tha! person

_ and I will both still be folly obliga ba under the Note and under this Mortgage, ce re .
Lender may allow those delays or changes for a person who takes over my rights and obligations, even if Lender is requested
not to do so. Lender will not be reghired to bring a lawsuit against such a person for-not fulfilling obligations undex the Note
or under this Mortgage, even if Lender is requested to do so. oe : - ‘ ,

- co way : . :

CONTINUATION OF LENDER’S RIGHTS ©. :

14.

- OBLIGATIONS

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. AO ao
" BORROWER'S OBLIGATION: 'O PAY MORTGAGE INSURANCE PREMIUMS ©.
If Lender required mortgage ins as a condition of making the loan that I promise to. pay under the Note, I will pay the
_preminums for that mortgage i I will pay the premiums until the requirement for mortgage insurance ends according

to. my written agreement with Lender or according to law. Lender may require me to pay premiums in the manner described.
in'Paragraph 2 above. ‘ . . : . .
ER’S OBLIGATIONS .

’ Byen if Lender does not exercise o enforce any right of Lender under this Mortgage or under the law, Lender will still have

~ all of those rights and may. exe

other claims, charges or liens again the Property, Lender will still have the right, under Paragraph 20 below, to demand that I
- make Immediate Payment In Pull (se Paragraph 20 for a definition of this phrase) of the amount that I owe to Lender under

the Note and under this Mortgage. 9-1. } a ae : SO .
- LENDER'S ABILITY TO ENFORCE MORE-THAN ONE OF LENDER'S RIGHTS :

Each of Lendes’s rights under thig Mortgage is separate. Lender may exercise and enforce one or more of those rights, as

well as any of Lendez’s other rights nder the law, one at a time or all at once. To a. wt

OBLIGATIONS OF BORROY

. Subject to the terms of Paragraph 119 below, any person who takes over my rights or obligations ‘under this Mortgage will

~ A notice will be delivered or mailes

16.

_ thal any terms of this Mortgage an

-- have all of my rights and will be ob gated to keep all of my promises and agreements made in this Mortgage. Similarly, any «

Person who. takes over Lender's rights or obligations under this Mortgage will have all of Lendez's rights and will be
obligated to keep all of Lender’s agi
organization, governmental authori

or any other party.) .

r gage as Borrower, each of us is fully obligated to keep all of Borrower's promises and
. obligations. contained in this Mortkage. Lender may enforce Lender's rights under this Mortgage against each of us
individually or against all. of us to er.. This means that any one of us may be required to pay all of the amounts owed
~under the Note and under this Mor . However, if one of us does not sign the Note, then: (A) that person is signing this
Mortgage only to give that person’sizights in the Property to Lender under the terms of this Mortgage; and (B) that person is
not personally obligated - to mak
. Mortgage but not signing the Not
due under the Note or under this
Mortgage. ‘Lender may do this wi

- AGREEMENT ABOUT GIVING) {OTICES REQUIRED UNDER THIS MORTGAGE /
Unless the law requires otherwise, otice that must be given to me under this Mortgage will be given by delivering it or
~ by mailing it by certified mail addi bhsed to me at the address stated in the section above titled “Description Of The Property.”
to me at a different address if.I give Lender a notice of my different address. Any notice
this Mortgage’ will be given by mailing it by certified mail to Lender's address stated in
paragraph (C) of the section aboy titled “Words Used Often In This Document." A notice. will be mailed to Lender at a
different address if Lender gives n a notice of the different address. A notice required by this Mortgage is given when it is
mailed or when it is delivered accordi g to the requirements of this Paragraph 15. , uo, :

If more than one person signs this

ortg

put obtaining anyone's consent and without modifying the effect of this Mortgage.

that must be given to Lender unde

RTGAGE, mS , Te

in the place that the Property is located will gover this Mortgage. . This will not: limit
age. If any term of this Mortgage or of the Note conflicts ‘with the law, all other terms of
till remain in effect if they.can be given effect without the conflicting tem. This means

the Note which conflict with the law can be separated. from the remaining terms, and the

LAW THAT GOVERNS THIS
The state and local law that app
Federal law that applies to this Mc
this Mortgage and of the Note

_ Temaining terms will still be enforced

As used in this Mortgage, the wards “costs,” expenses” and "attorneys’ fees" include all amounts not prohibited by

"| applicable law or limited in this Mortgage. -

17.

BORROWER'S COPY OF THE/NOTE AND OF THIS MORTGAGE
. I will be given copies of the Note and of this Mortgage. Those copies must show that the original Note and Mortgage have

'- been signed. I will be given tho: copies either when I sign the Note and this Mortgage or after this Mortgage has been

18,

- or similar loan agreement I have

BP-74Ny) 19908) :

-Tecorded in the proper official reco!

REHABILITATION LOAN AGREEMENT
I will comply with all of the terms

Lender. If Lender requests it, I will sign and give to Lender an assignment of any rights
who. supply Jabor, materials or services in connection with improving the Property.

perile to Meader. 6001870365

‘or claims I might have against

This assignment will be in a form avy

Inttlale:

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‘and enforce them in the future. Bven if Lender obtains insurance, pays taxes, or pays

| AND .OF PERSONS TAKING OVER BORROWER'S RIGHTS -OR

ements made in this Mortgage. (in this Mortgage, the word "person" means any person, .

e| payments or. to-act under. the Note or under this Mortgage. Any person signing this _

id conditions of any home rehabilitation, improvement, repair, modernization, remodeling :

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a

19, AGREEMENTS ABOUT LENDER
*.: Lender.may require immediate. pa
. any.zight in the Property, is sold 0
payment in full if 9 beneficial int
Lender shall not require immediate

‘If Lender requires immediate pa
requirement,. The notice will give
date the notice is mailed or delivere

. rights under this Mortgage without gi

ER FAILS TO KEEP PROMISES AND AGREEMENTS ° ve
subparagraphs (A), (B), and (C) of this Paragraph 20 are satisfied, Lender may.
he.entire amount then remaining unpaid under the Note and under this Mortgage.
‘any further demand for payment. This requirement will be called "Immediate oo

Talso promise and agree with Lend ow
2). LENDER'S RIGHTS IF BORROW
: If all of the conditions stated i
require that I pay immediately
Lender may do this without maki
Paymentin Full”,

+ Wy Lender requires Immediate Payym
the Property and to have the Prpp

ent In Full, Lender may bring a lawsuit to take away all of my remaining rights in

exty.sold, At this sale Lender or another person may acquire the Property. This is:

~ known as "foreclosure and salel'{ If. the Proceeds of this sale are insufficient to repay Lender the amounts due to
under this Mortgage, Lender may obtain a court Judgment against me personally

‘Lender from me under the Note ap .
for the difference between all a mi ants ‘due from me under the Note and this Mortgage and the sale proceeds, In any

lawsuit for foreclosure and sale, Lender will have the right to collect all costs and expenses of the foreclosure and sale
allowed by law. , : Se / - ,
ender may:require Immediate Hayment In Full under this Paragraph 20 only .if all of the following conditions are.
satisfied: - r . :
(A) I fail to keep any promise {o agreement made in this Mortgage, including the promises to pay when due the -
amounts that I owe te Lend under the Note and under this Mortgage; and ". , oe
(B) Lender gives to me, in the man ner described in Paragraph 15 above, a notice that states:
: “@ The promise or agreement that I failed to keep; ‘ us .

correct the failure. That date must he deast 10 days from. the daté-on which the
Me ¢ ate! * oo

notice is mailed toméy 5: PR eA
(iv) That if I do not corre the failure by the date stated in the Hotice, I will be in default and Lender may ©
. . Fequire Immediate Payment In Fol, and Lender or another person may acquire the Property by.means of

foreclosure and sale; ‘ . : ” :

{y) That if I meet the co yditiong stated in Paragraph 21 below, I will have the right to have any lawsuit for
‘ foreclosure and sale discontinued and to have the Note and this Mortgage remain in fall force and effect as
if Immediate Payment/In Full had never been required; and cs . oo
Avi) That I have the righ
promises or apreemes
may have; and
(C) Ido not correct the failure sta

21, BORROWER’S RIGHT TO HAY
"Even if Lender has required Immetiia
_Lender for foreclosure and sale or

has been entered enforcing this Mottg

(A). I pay to Lender the full amo:
Immediate Payment In Full; and * . . . . . /
(B) Icorrect my faiture to keep any of my other promises or agreements made in this Mortgage; and .
(C) I pay all of Lender’s reasonabl expenses in enforcing this Mortgage including, for example, reasonable attorneys’ fees;
- and ay, : - oo So.
(D) I do whatever Lender reaso; ably requires to assure that Lender’s rights in the Property, Lender’s rights under this -
Mortgage, and my obligations| under the Note and under this Mortgage continue-unchanged. ‘ :
If all of the. conditions in this Pa artap
as if Immediate Payment In Full had|

- 22, LENDER'S RIGHTS TO RENTA
_ PROPERTY

that would have been due under this Mortgage and the Note if Lender had not required

h21 are fulfilled, then the Note and this Mortgage will remain in full force and effect
ver been required. . .

PAYMENTS FROM THE PROPERTY AND TO TAKE POSSESSION OF THE

right to collect and keep those rental p ayments as they become due. I have not given’any of my rights to rental payments from -
’ the Property to anyone other than | e holder of vee ee Naess pe i not do so wiki Lender consent in
_ Writing. If Lender requires Immediate Payment InpPuill’ dder P; “OF 20°abave, or if I abahdowt the Property, then .

! i notifies the tenants that Lender has the
ight to collect rental payments dir ly from them under this Paragraph 22, the tenants may make those rental payments to
, ct I have failed to keep my promises and agreements under this Mortgage.

If there is a judgment for Lender.in b lawsuit for foreclosure and sale, I will pay to Lender reasonable rent from the date the

oR Inggment is-entered for ag, long as occupy the Property. However, this does not give me the right to be a tenant on the
-Broperty. fyi A Te eb Ra } - / :
me, - 0001870365
ay oie Oia eo : : ot 4 MA: :
T. FeQMiFg Or . : : . . Inhinle; Form 3839

— QBD-7e(NY) o20m,_¥! ZR AG Sainigh tye ' oe Panter
ae THs. 1D isvgy otek 9.) se ,
7

a

dex or by a receiver, other than the rent paid by me under this Paragraph 22, will be used

Ail rental payments collected.by
first to pay the costs of collecting tal payments and of managing the Property. If any. part of the rental Payments remains

' after those costs have been paid ix , the remaining part will be used to reduce the amount that I owe to Lender under the
Note and under this Mortgage, The of managing the Propesty may include the receiver's fees, reasonable attorneys’ fees,
and the cost of any necessary bondg,-Lender and the receiver will be obligated tw account only, for those rental payments that
they actually receive. ' / , Oo Se
LENDER’S OBLIGATION TO ISCHARGE THIS MORTGAGE WHEN THE NOTE AND THIS MORTGAGE - °°.
ARE PAID IN FULL - “OF ce . pe oo
When Lender has been paid all ami ts due under the Note and under this Mortgage, Lender will discharge this Mortgage by

delivering a certificate stating that {iis lortgage has been satisfied, I will not be required to pay Lender for the discharge, but :

. -AGREEMENTS ABOUT NEW;WORK LIEN LAW

- Tax Map Information: 1-460-15

25, ‘BORROWER'S STATEMENT R

‘only. oe

{“) This Security Instrument co
Hot more than six (6) residential dwelling units with each dwelling unit having its own

containing, in the: aggregate,

personally known to me or proved to
subscribed to the within instrament and
that by his/her/their signature(s) on the.
executed the instrument. ©” ”

'

B-70.ny) (0308)

Page sole

nota aoa Rita azas6s
eae County
Cuyatied ren Ock 14, 2007

Separate cooking facilities, || . .
CC This Security Instrument doeg hot cover real Propezty improved as described above,
Be REQUEST FOR NOTICE OF DEFAULT.
- FORECLOSURE UNDER SUPERIOR.
. oo - MORTGAGES OR DEEDS OF TRUST . So co .
Borrower and uest the holder of any superior mortgage or deed of trust to notify Lender in writing, at Lender's. :
on page, this M e, if the Borrower is required 'to make "Immediate Payment in Full” and if there is "foreclosure .- ~
d saleS.un ior mojtgage of deed of trust, ~ . oo ao ao
"B: i is Morte’ e Yagree of the above. mo, . Lo : oe
WT Seay
ff LOURDES MINIER cs - ‘Borrower
- (Seal)
: » “Borrower”
- a _ (Seal) (Seal)
4 -Borrower Borrower
. (Seal) (Seal)
-Borrower _ “Borrower
(Seal). , (Seal)
-Borrower -Borrower
, : , "| Sign Original Only) ,
STATE OF NEW.Y, Epon County ss, oo
~— Onthe’ ZA LE aay of _ ~ before me, the undersigned, a notary public
‘mand for said sae, personally appeared| . ws ee

Form 3833

ee.

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shee:

11-4 FAMILY RIDER.

/ (Assignment of Rents) 4 j
‘THIS 1-4 FAMILY RI ER:is made this 24th day of September 2004 ,
~ and is incorporated into and shall be deemed to amend and supplement the Mortgage, Deed of Trust, or -

a

Security Deed (the "Security irument”) of the’ same. date given by the undegsigned (the "Borrower") to
secure Borrower's Note to || # - : . o3 ce . :
"NEW CENTURY ORTBAGE CORPORATION #
gies ;

ood "Lender").of the same date dcovering the Property described in the Security Instrument and tocated at:-
nn . 152. BEECH: STREET, - NX! RS; NY “10701 Lo. , :

1-4 FAMILY CO

"the Property described in Security Instrument, the following items now or hereafter attached to the .
“Property to the extent they fixtures are ‘added to the Property description, and shall.also constitute the
Property: covered ‘by the -Securi y, instrament: building matezials, appliances and goods of every nature
whatsoever now or hereafter lIbca in, on, or used, or intended to be used in connection with the Property;
including, but not limited to, se for the purposes of supplying or distributing heating, cooling, electricity,
gas, water, air and light, fire| prevention and extinguishing apparatus, security and access control apparatus,
plumbing, bath tubs, water hi eIS, ‘water closets, Sinks, ranges, stoves, refrigerators, dishwashers, disposals,
‘washers, dryers, awnings, s windows, storm doors, screens, blinds, shades, curtains and curtain rods,
attached mizors, cabinets, paneling and attached floor coverings, all of which, including replacements and
additions thereto, shall be deemed to be and remain a part of the Property covered by the Security Instrument.
All of the foregoing together ith the Property described in the Security Instrument (or the leasehold estate if
the Security Instrument is on leasehold) are referred to in this 1-4 Family Rider and the Security Instrument
.. 88 the "Propexty.” . ,
oe _ 0001870365
MULTISTATE 1- 4 FAMILY RIDER - Fannie Mae/Freddle Mao UNIFORM INSTRUMENT
, . o ~ Initials: /
. e. Page 1 of 4 . Form $170 1/01
Zp, 57h (0008) = VMP MORTGAGE FORMS - (800)§21-7291

IN

Dam (0008)

. B. USE OF PROPER’ ; COMPLIANCE WITH LAW. Borrower, hall not seek, agree to or make 2

change in the use of. the or its zoning. classification, unless Len has agreed-in writing to the
change. Borrower shall comply with all laws, ordinances, regulations and ents of any governmental
body applicable to the Property

C. SUBORDINATE LIENS; Except as permitted by federal law, B
“inferior :to the Security: Insteumen
". permission, 3.0

wer shall not allow any lien
to be perfected against the Property without, Lender’s prior, written

_D, RENT LOSS INSURANCE. Borrower shall maintain insurance abainst rent loss in addition to the

: other hazards for which insuraslce is required by Section 4. o£

E, "BORROWER'S RI HT TO REINSTATE" DELETED. Sectioh 19 is deleted.

_F- BORROWER'S OCCUPANCY. Unless Lender and Borrower othdrwise agre in writing, Section 6

G. ASSIGNMENT OF LEAS#S, Upon Lender's request after default] Borrower shall assign to Lender

security deposits made in connection with leases of the Property. Upon the

assignment, Leader shall have’ e right to modify, extend or terminate the isting leases and to execute new:

‘Security Instrument isonal

H. ASSIGNMENT OF RENTS; APPOINTMENT OF RECEIVE!
Borrower absolutely and unconditionally assigns and transfers to Lender all
of the Property, regardless of te whom the Rents of the Property are payabi
"Lender's agents to collect the Rents, and agrees that cach tenant of the Pro;

n.:As used in this paragraph G, the word "Ie " shall mean “sublease” if tie

; LENDER IN POSSESSION.

the rents and revenues ("Rents")

. Borrower authorizes Lender or
shall pay the Rents to Lender

or Lender's agents; However, Harrower shall receive the Rents until: (i) Lentler has given Borrower notice of ~

the Rents are to be. paid w

_ assignment and not an assignment for additional security only.

~ default pursuant to Section 22 of the Security Instrument, and (ii) Lender hag given notice to the tenant(s) that ©

der or Lender's agent. This assignment | f Rents constifutes an absolute

If Lender gives notice of default to Borrower: (i) all Rents received by Borrower shall be held by

: Borrower as trustee for the

efit of Lender only, to be applied to the sums secured by the Security

Instrument; (ii) Lender shall [be entitled to- collect and-receive all of the Rents of the Property; (iii) ”

0001 870365
oo Initials: to
Page 2of4. . - - Forny'3170 1/01

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“
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i.
I

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Property and of collecting
- indebtedness of Borrower to

-the remedies permitted by the Security Instrument.

p;57R (0008)

Borrower agrees that each t of the Property shall pay all Rents due sh unpaid o Lender or Lends

W provides otherwise, all Rents

' the Property and collecting ‘the (Rents; including, but not limited to, attorneyfs fees, receiver's fees, premiums
on receiver's bonds, repair and| maintenance costs, insurance premiums, , assessments and other charges.
I secured by the Security Instrument; (vy) Lender, Lender's agents or any -
judicially appointed receiver shall be Hable to account for only those Rents ly received; and (vi) Lender’
shall be entitled to have a re ver. appointed to take possession of and e the Property and collect the

if the Rents of the Proj

ant to Section 9; -” -

’ Borrower represents.and w: ts that Borrower has not executed any pri ‘assignment of the Rents

‘Lendez, or Lender's agen ‘or a judicially appointed receiver, shall ngt be required to enter upon, take

control of or maintain the Proppzty before or after giving notice of default th Borrower. However, Lender, or -

“appointed receiver, may do so at any time when-a default occurs. Any
application of Rents shail not cure or waive any default or invalidate any pther'right ot remedy of Lender.
This assignment of Rents ofthe Property shall terminate when all the sums secured by the Security
Instrument are paid in full. we : . : a

IE. CROSS-DEFAULT PROVISION. Borrower's default or breach |under any nole or agreement in
which Lender has an interest be a breach under the Security Instrument and Lender may invoke any of

it

0001870365
Initials: YS

"Pago 3of4 Form 3170 1/04

Aue oe

taking control of. and managing ©

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‘perform, any act that would prevent Lendek from exercising its rights under

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BY SIGNING BELO

amr yer accepts ond agrees to the terms and provisions contained in this 1-4

Sel) Seat
-Borrower . wo . "Borrower --

 » LOURDES™ ‘MINTER:

ea ea

’ -Borrower te ue ’ Borrower

Ge sean

-Borrower : a we -Borrower

(Sea) (Seal)

" .Borrower . oO -Borrowor

0001870365

@Zpys7A (000s) Ad Page 4 of 4 '. Form 3170 1/01

time. If I make a p;
payments, my due date|may be advanced
other partial prepayments, I must

Loan Number 0001870365

This prepayment Rider}

and is incorporated into
Note’ (the. Note")
.. Instrument") of. the.

' Tepayment of Borrower
NEW CENTURY.

To the extent that the;
provisions of the Note!
/ evail over. and shall
'_. In addition to.the cov
the Borrower and Lend

6. BORROWER’S RI
, I have the righ
due. A prepayment of
prepayment. of |
prepayment".
Except as provi

t
ORTAAGE CORPGRATION

rovisions ‘of
Vor i

nis'and agreements made in the Note and
further covenant and agree as follows:

‘HT. TO PREPAY: .
to make payments. of principal

‘|part of the unpaid ‘principal ‘is
ed: below,

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“2 PREPAYMENT RID

September 2004 =,
lement the Promissory
atgage, Deed of Trust or Security Deed (the "Security
date given by the undersigned (the Borrower") to secure:
lote to : : /
‘(The "Lender’)
this. Prepayment Rider are inconsistent with the -
Security Instrument, the ‘provisions of this Rider shall -
any such inconsistent provisions of the Note and/or

Security Instrument,
any time before they are

4s a "full prepayment". A
known as a "partial

the unpaid principal is known

I may make a full or partial prepayment at any
_ prepayment. equal to one or more of my monthly
no more than one month. If I make any
still make each later payment as it becomes due .

and in the same amount.. I may make a-full prepayment at any time. However, if:
within the first .- ‘year(s) after the execution of the S i ent, I
make any prepayment(s) within any 12-month period the total amount of which
exceeds TWENTY PERCENT (20%) of the original principal amount of this loan,
I will pay a Prepayment charge in an amount equal to the payment of six ( 6 )
months’ advance inter: .on the amount by which the total of my. prepayment(s)
Within that 12-month

amount of this loan,

ridd exceeds twenty

percent (20%) of the original principal

‘Borrower accepts’ and agrees to the terms and covenants
L eshes . .

~ LOURDES WINTER

New Century Mi Be
Fined Secon Prepay Rider
RE 119 (012197)

Teer

RE-119.Nd
JP 061702

